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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

VERNON CURRY,                         §
Plaintiffs                            §
                                      §     CIVIL ACTION NO. ________
vs.                                   §
                                      §
GC SERVICES, LP                       §
Defendant                             §


                                 COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW Vernon Curry, hereinafter referred to as Plaintiff

complaining against GC Services, LP hereinafter referred to as Defendant and for

cause of action would respectfully show unto the Court as follows:

             NATURE OF THE ACTION AND JURISDICTION

1.    This is an action for damages brought by an individual Plaintiffs for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiffs seeks to

recover monetary damages for Defendant’s violation of the FDCPA, the TDCPA

and the DTPA and to have an Order or injunction issued by this Court preventing
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Defendant from continuing its behavior in violation of the FDCPA. Jurisdiction of

this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is

proper before this Court as Plaintiffs and/or Defendant reside in this District and/or

the complained of actions occurred in this District. Service may be made upon

Defendant in any other district in which it may be found pursuant to 29 U.S.C.

§1132(e)(2).

2.    Plaintiff, Vernon Curry, is a natural person and a “consumer” as defined by

15 U.S.C. §1692(a)(3), the Texas Deceptive Trade Practices Act §17.45(4) and

Texas Finance Code §392.001(1).

3.    Defendant, GC Services, LP, is a domestic corporation engaged in the

business of collecting debts by use of the mails and telephone, and Defendant

regularly attempts to collect debts alleged to be due another. Defendant is a “debt

collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6) trying to collect a

“debt” as defined by 15 U.S.C. §1692(a)(5) and Texas Finance Code §392.001(2).

                                FIRST COUNT
                              FDCPA VIOLATIONS

4.    At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this Complaint, Defendant

contacted Plaintiff in an attempt to collect an alleged outstanding debt. Defendant’s

conduct violated the FDCPA in multiple ways, including but not limited to:
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      a. Using false representations and deceptive practices in connection with

         collection of an alleged debt from Plaintiff, including attempting to

         garnish Plaintiff without giving Plaintiff proper legal notice to comply

         with his constitutional due process rights and the mandatory procedures

         pursuant to 31 USC § 3720D (§ 1692e(10); 1692d; 1692f)); and

      b. Using unfair or unconscionable means against Plaintiff in connection

         with an attempt to collect a debt, including ignoring a ruling by an

         administrative judge that reduced the amount Defendant is allowed to

         garnish from Plaintiff and continuing to take the full 15% of disposable

         income pursuant to an administrative garnishment (§ 1692f)).

5.    As a result of the above violations of the FDCPA, Plaintiff suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

6.    Defendant’s aforementioned statutory violations also constitute an invasion

of Plaintiff’s right to privacy, causing additional injury to Plaintiff’s feelings,

mental anguish and distress.

7.    As a result of the above statutory violations and invasion of privacy, Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental anguish and emotional distress, and Defendant is liable to
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Plaintiff for Plaintiff’s actual damages, exemplary damages, statutory damages,

and costs and attorney’s fees.

                         SECOND COUNT
     VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

8.     Plaintiff reincorporates by reference herein all prior paragraphs above.

9.     This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiffs

Protection Act and cited in this petition as the “DTPA”.

10.      Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

11.       Defendant made numerous material misrepresentations in an attempt to

collect the purported debt as detailed above.

12.    Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

13.    Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

14.    Defendant’s actions as detailed above constitute a violation of the Texas

Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

15.    The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff. Plaintiff’s damages include: statutory damages,
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actual/economic         damages,     emotional   and/or    mental   anguish    damages,

exemplary/punitive damages, and Plaintiff’s attorneys’ fees and costs.

16.         Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

17.         Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.

      (a)      a declaratory judgment be entered that Defendant’s conduct violated the

               FDCPA;

      (b)      an award of actual damages;

      (c)      an award of statutory damages pursuant to 15 U.S.C. § 1692k;

      (d)      an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

               1692k; and,

      (e)      a declaratory judgment be entered that Defendant’s conduct violated the

               Texas deceptive Trade Practices Act;
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  (f)   an award for all statutory damages, actual damages, exemplary damages,

        emotional/mental anguish damages, all attorneys fees, costs of court, and

        pre-judgment and post-judgment interest at the highest lawful rates.

  (g)   seeks an award of discretionary additional damages in an amount not to

        exceed three times the amount of economic damages if Defendant’s

        conduct is found to have been committed knowingly; or an amount not to

        exceed three times the amount of economic and mental anguish damages

        if Defendant’s conduct is found to have been committed intentionally.

  (h)   such other and further relief as may be just and proper.




                                            Respectfully submitted,


                                            By: /s/Susan Landgraf
                                            Susan Landgraf
                                            S.D. Bar # 15824
                                            Texas State Bar # 00784702
                                            Attorney in Charge for Plaintiffs

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                         CERTIFICATE OF SERVICE


I certify that on July 6, 2009, I electronically filed the foregoing document with the
clerk of the U.S. District Court, Southern District of Texas, Houston Division,
using the electronic case filing system of the court.


                                                           /s/ Susan A. Landgraf___
                                                            SUSAN A. LANDGRAF
